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                       UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA
                                         Civil Minutes


 Date: May 8, 2025                                                   Judge: Hon. James Donato

 Time: 11 Minutes

 Case No.       3:24-cv-06843-JD
 Case Name      Epic Games, Inc. v. Samsung Electronics Co. Ltd. et al

 Attorney(s) for Plaintiff(s):   Gary Bornstein/Yonatan Even/Charlotte Rothschild
 Attorney(s) for Defendant(s):   Adam Wolfson/Vicki Maroulis/Jessica Phillips

 Deputy Clerk: Lisa R. Clark                                         Court Reporter: April Brott

                                       PROCEEDINGS

Status Conference -- Held

                                    NOTES AND ORDERS

The parties may request quarterly status conferences as warranted.
